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MINUTE ENTRY
NORTH, M.J.
APRIL 28, 2021

                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


LASHAWN JONES, ET AL.                                         CIVIL ACTION

VERSUS                                                        NUMBER: 12-0859

MARLIN N. GUSMAN, ET AL.                                      SECTION: “I”(5)


       A hearing was remotely convened on this date in the presence of a court reporter

(Mary Thompson) on the City’s motion for stay. (Rec. doc. 1410).

       PARTICIPATING:      Elizabeth Cumming           George Eppsteiner
                           Emily Washington            Harry Rosenberg
                           Blake Arcuri                Laura Cowall
                           Ariona Jean-Johnson         Margo Frasier
                           Stephanie Poucher

       The City’s motion is taken under advisement.

       New Orleans, Louisiana, this 4th day of          May         , 2021.




                                                  MICHAEL B. NORTH
                                            UNITED STATES MAGISTRATE JUDGE




MJSTAR (01:25)
